









lee, elmer edward v. state                                          









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO. 12-06-00196-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

TWELFTH COURT OF APPEALS
DISTRICT

&nbsp;

TYLER, TEXAS

&nbsp;

WAYLON
TYRELE WICKWARE,&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL FROM THE 241ST

APPELLANT

&nbsp;

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL
DISTRICT COURT OF

&nbsp;

THE
STATE OF TEXAS,

APPELLEE&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; SMITH
COUNTY, TEXAS

&nbsp;




 
  
  
 
 
  
  
 
 
  
 
 
  
  
 


&nbsp;

&nbsp;



MEMORANDUM OPINION

PER
CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This appeal is being dismissed for want of
jurisdiction.&nbsp; Appellant was convicted of
aggravated assault, and punishment was assessed at imprisonment for ten
years.&nbsp; Thereafter, Appellant filed a
notice of appeal.&nbsp; To be sufficient to
invoke the appellate court’s full jurisdiction, the notice of appeal filed by
an appellant in a criminal case must bear the trial court’s certification of
the appellant’s right to appeal under Texas Rule of Appellate Procedure
25.2(a)(2).&nbsp; Tex. R. App. P. 25.2(d).&nbsp;
The certification should be part of the record when notice is filed, but
may be added by timely amendment or supplementation.&nbsp; Id.&nbsp; Appellant’s notice of appeal does not include
the required certification.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On July 5, 2006, this Court notified Appellant through
his counsel, pursuant to Texas Rules of Appellate Procedure 25.2 and 37.1, that
the notice of appeal does not include the trial court certification.&nbsp; The notice also informed Appellant that the
appeal would be dismissed unless, on or before August 4, 2006, the clerk’s
record was amended to include the required certification.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The deadline for responding to this Court’s notice has
expired, and the clerk’s record has not been amended to show Appellant’s right
to appeal.&nbsp; Therefore, the appeal is dismissed
for want of jurisdiction.

Opinion delivered August 16,
2006.

Panel
consisted of Worthen, C.J. and Griffith, J.

(DO NOT
PUBLISH)





